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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION FOR THE                 )
ADVANCEMENT OF COLORED                       )
PEOPLE,                                      )
                                             )
                         Plaintiff,          )       Civil Action No. 20-cv-2295 (EGS)
                                             )
v.                                           )
                                             )
UNITED STATES POSTAL SERVICE,                )
et al.,                                      )
                                             )
                         Defendants.         )
                                             )

                               JOINT LOCAL RULE 16.3 REPORT

       This case concerns alleged changes made by defendants U.S. Postal Service and Postmaster

General Louis DeJoy (hereafter, USPS) to transportation policy for delivery of mail in the summer

of 2020, and to USPS’s procedures for the treatment of election mail. Plaintiff National

Association for Advancement of Colored People (NAACP) alleges that the changes were

unlawfully implemented because, among other things, USPS failed to go through the process set

forth in 39 U.S.C. § 3661. On October 10, 2020, the Court granted NAACP’s motion for a

preliminary injunction, enjoining USPS from enforcing these alleged transportation changes. In

addition, the NAACP alleges that USPS has failed to implement procedures necessary to ensure

the prompt and reliable delivery of ballots in future elections, including accounting for and

prioritizing ballot delivery close to Election Day, as required by USPS’s obligation to “give the

highest consideration to the requirement for the most expeditious collection, transportation, and

delivery of important letter mail.” 39 U.S.C. § 101(e).

       Pursuant to Local Rule 16.3(d), the parties state as follows with respect to the matters set

forth in Rule 16.3(c):



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        (1) The parties believe that the case is likely to be disposed of by dispositive motion, after

the completion of formal discovery and/or the parties’ agreement on stipulated facts. A dispositive

motion has not yet been filed.

        (2) The parties do not expect that other parties shall be joined or that the pleadings will be

amended. The parties will cooperate to try to narrow the factual issues; they agree that they are

unlikely to agree on or narrow the legal issues.

        (3) The parties agree that the case should not be assigned to a magistrate judge for all

purposes.

        (4) Plaintiff thinks that this case could be settled. Defendants are continuing to explore

whether settlement of this case is a realistic possibility.

        (5) Plaintiff thinks that the case could benefit from the Court’s alternative dispute

resolution (ADR) procedures (or some other form of ADR). Defendants are continuing to explore

whether this case would benefit from ADR.

        (6) The parties expect that, if the case cannot be settled, it can be resolved by summary

judgment. The parties agree to propose a briefing schedule within seven days after either the close

of discovery or the conclusion of the informal exchange of information described below should

the parties deem formal discovery to be unnecessary.

        (7) The parties agree that they should dispense with the initial disclosures required by

Federal Rule of Civil Procedure 26(a)(1).

        (8) The parties agree on the following discovery process:

                (a) The parties first intend to informally exchange information in an attempt to

                    narrow, if not eliminate, factual disputes. The parties expect to complete this




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       informal process by June 15, 2021, subject to modification or extension by the

       agreement of the parties.

    (b) If factual questions remain after the completion of the informal process

       described above, Plaintiff intends to propound written discovery, including

       requests for production of documents. Plaintiffs may also notice depositions.

       Plaintiff will serve discovery within two weeks of the close of the informal

       attempt to agree to factual issues described above. Defendants will respond 30

       within days thereafter. Defendants do not currently intend to propound

       discovery but reserve the right to do so pursuant to the above schedule. In light

       of the proportionality concerns expressed in Federal Rule of Civil Procedure

       26, the extensive discovery and live witness testimony that has already occurred

       in this and other related cases, and the fact that the dispute in this case is largely

       legal, Defendants propose the following limitations on formal discovery for

       both parties: 10 requests for the production of documents; 10 interrogatories;

       10 requests for admission; and 3 depositions. Plaintiff disagrees that limitations

       on discovery should be impose beyond those set forth in the Federal Rules. In

       particular, Plaintiff disagrees that limitations on discovery in this case can

       properly be based on discovery taken by other parties in other cases, much of

       which has not been produced to Plaintiff and which may or may not relate to

       Plaintiff’s claims. The parties expect to complete all discovery by August 15,

       2021.




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               (c) A protective order is in place with respect to some information previously

                   disclosed to Plaintiff, see Protective Order, ECF No. 16; the parties will propose

                   an additional protective order as appropriate.

       (9) The parties have not identified any issues related to disclosure, discovery, or

       preservation of electronically stored information, including the form or forms in which it

       should be produced.

       (10) As of this date, the parties have not identified any issues related to claims of privilege

       or of protection as trial-preparation materials. If, at some later point, they determine that a

       FRE 502 order is appropriate, they will propose such an order as necessary.

       (11) The parties agree that the requirement of exchange of expert witness reports and

information pursuant to Federal Rule of Civil Procedure 26(a)(2) need not be modified, and they

do not anticipate taking depositions of experts in this case.

       (12) The parties agree that this case does not involve a class action and that class action

procedures are not applicable in this case.

       (13) The parties agree that neither trial, if any, nor discovery should be bifurcated or

managed in phases.

       (14) The parties agree that, because the case is likely to be resolved on motions for

summary judgment, the Court need not set a date for the pretrial conference.

       (15) The parties agree that, because the case is likely to be resolved on motions for

summary judgment, the Court need not set a trial date.

Dated: May 17, 2021                           Respectfully submitted,

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